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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

STUDIO PEYO S.A.,
                                                     Case No. 20-cv-01562
                        Plaintiff,
       v.                                            Judge Sharon Johnson Coleman

DONGGUAN AI CHENG TOYS CO., LTD, et                  Magistrate Judge Sidney I. Schenkier
al.
              Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Studio Peyo

S.A. (“Studio Peyo” or “Plaintiff”) hereby dismisses this action, with leave to reinstate within one

hundred and eighty (180) days, as to the following Defendants:

               Defendant Name                                           Line No.
               Rongzhan Retailer                                           26
            USA TOYFORU storefront                                         27


Dated this 19h day of June 2020.              Respectfully submitted,

                                              /s/ Jake M. Christensen
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                                              Justin R. Gaudio
                                              Jake M. Christensen
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